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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                             BUTTE DIVISION



 UNITED STATES OF AMERICA,                2:20-PO-05009-KLD
                                          Ticket Number: FBCX0069
                    Plaintiff,            Location Code: M4B
                                          Disposition Code: PE
 vs.
                                          JUDGMENT IN A CRIMINAL CASE
 DOUGLAS L. HUBBARD,

                    Defendant.



       The Defendant, Douglas L. Hubbard, was present in court and entered a plea
of no contest to the charge of: CONSTRUCT PLACE OR MAINTAIN A ROAD
ON NFS W/O AUTH.
       The court imposes the following sentence pursuant to the Sentencing
Reform Act of 1984:
             1. Defendant must pay a fine in the amount of $50.00 plus $40.00
Special Assessment for CONSTRUCT PLACE OR MAINTAIN A ROAD ON
NFS W/O AUTH for a total of $90.00. Defendant must pay by check or money
order payable to AU.S. COURTS C CVB@ and mailed to CENTRAL
VIOLATIONS BUREAU, P.O. Box 780549 San Antonio, TX 78278. Defendant
may also pay online at www.cvb.uscourts.gov .
       Defendant is advised that pursuant to 18 U.S.C. § 3742(g) and Federal Rule
of Criminal Procedure 58(g)(2)(B), Defendant has the right to appeal the sentence
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imposed in this case to a United States District Court Judge within fourteen (14)
days after entry of judgment, by filing with the Clerk of District Court a statement
specifying the judgment from which the appeal is taken, and by serving a copy of
the statement upon the United States Attorney (personally or by mail) and filing a
copy with Magistrate Kathleen L. Desoto. If you appeal, you will be required to
pay a $38 fee pursuant to 28 U.S.C. § 1914, Fee Schedule, subsection (10) at the
time of filing your appeal. You also will be required to furnish the District Court
Judge a copy of the record, which consists of the “original papers and exhibits in
the case together with any transcript, tape or other recording of the proceedings
and a certified copy of the docket entries which shall be transmitted promptly to
the clerk of court.” Fed. R. Crim. P. 58(g)(2)(c).


Date of Imposition of Judgment: December 3, 2020.


   1/12/2021
____________________                                 ______________________
                                                      _______________________
Date Signed                                          KATHLEEN L.   L DESOTO
                                                                     DESOT
                                                     United States Magistrate Judge
